                                       JONATHAN SKRMETTI
                                   ATTORNEY GENERAL AND REPORTER


                                   P.O. BOX 20207, NASHVILLE, TN 37202
                                         TELEPHONE (615)741-3491
                                          FACSIMILE (615)741-2009



                                            May 1, 2024

 VIA EMAIL AND CERTIFIED MAIL
 Elizabeth A. Kramer & Kevin M. Osborne
 Erickson Kramer Osborne, LLP
 44 Tehama Street
 San Francisco, CA 94105
 elizabeth@eko.law
 kevin@eko.law
 (415) 635-0631

 RE:    B.P., et al., v. City of Johnson City, TN, et al., No. 2:23-cv-00071 (E.D. Tenn)
        Subpoena duces tecum re: call history records for (423) 677-2772

 Dear Ms. Kramer and Mr. Osborne:

         I represent District Attorney General Steven Finney regarding a subpoena you have issued
 for call history records for his phone number, (423) 677-2772. Respectfully, General Finney
 objects to any subpoena, pursuant to Fed. R. Civ. P. 45, which seeks information regarding
 criminal investigations. See State v. Harrison, 270 S.W.3d 21, 28–29 (Tenn. 2008) (citing Gravel
 v. United States, 408 U.S. 606, 628–29 (1972)) (“[A] person who has a personal right, privilege,
 or proprietary interest in materials subject to a third-party subpoena has standing to challenge the
 subpoena.”)

         First, information in General Finney’s possession regarding the criminal investigation of
 any criminal defendant may not be sought by subpoena. Pursuant to Tennessee law, documents
 and other information contained in the files of the District Attorney are not subject to disclosure
 except through Tenn. R. Crim. P. 16. See The Tennessean v. Metro Gov't of Nashville of Davidson
 Cnty, 485 S.W.3d 857 (Tenn. 2016); see also Sutton v. State, No. 03C01-9702-CR-00067, 1999
 WL 423005, at *6 (Tenn. Crim. App. June 25, 1999).

       Tennessean dealt with a public records request, but the rationale for subpoenas is the
 same. The Attorney General agreed in a 2018 opinion:

        Rule 16 should also shield information related to a pending criminal case that is sought
        through a subpoena. A defendant would have no reason to seek discovery under Rule 16



Case 2:23-cv-00071-TRM-JEM Document 203-3 Filed 05/31/24 Page 1 of 2 PageID #:
                                   4211
                                                                                                        3
        if he could simply subpoena an entire police investigative file. And the same “harmful and
        irreversible consequences” exist: a defendant’s right to a fair trial could be jeopardized and
        the privacy interests of others could be implicated if information related to a pending
        criminal case could be subpoenaed by a third-party.

 Tenn. Op. Atty. Gen. No. 18-07 (Mar. 8, 2018).

         Second, the law enforcement privilege shields disclosure of investigative and prosecutorial
 information to protect the ability of a law enforcement agency to conduct investigations. United
 States v. Se. Eye Specialists, PLLC, 586 F. Supp. 3d 787, 793 (M.D. Tenn. 2022).

         Third, the subpoena seeks information that is irrelevant to the case at hand, privileged and
 protected matter, and many weeks’ worth of information, so the request is overbroad and an undue
 burden. St. Clair Cnty. Employees’ Ret. Sys. v. Acadia Healthcare Co., Inc., No. 3:18-CV-00988,
 2024 WL 1342567, at *4 (M.D. Tenn. Mar. 28, 2024).


                                                              Sincerely,

                                                              s/Liz Evan
                                                              ELIZABETH EVAN (BPR 37770)
                                                              Assistant Attorney General
                                                              Law Enforcement and
                                                              Special Prosecutions Division
                                                              Office of the Attorney General
                                                              P.O. Box 20207
                                                              Nashville, TN 37202-0207
                                                              Phone: (615) 532-1600
                                                              Liz.Evan@ag.tn.gov



 cc:
 Heather Moore Collins
 Ashley Walter
 HMC Civil Rights Law, PLLC
 7000 Executive Cetner Dr. Suite 320
 Brentwood, TN 37027
 heather@hmccivilrights.com
 ashley@hmccivilrights.com

 Vanessa Baehr-Jones
 Advocates for Survivors of Abuse
 4200 Park Blvd. No. 413
 Oakland, CA94602
 vanessa@advocatesforsurvivors.com




Case 2:23-cv-00071-TRM-JEM Document 203-3 Filed 05/31/24 Page 2 of 2 PageID #:
                                   4212
